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rN THE uNITED sTATEs nls'rRrCT COURT HU':"D ~ `
FoR THE WEsTERN DISTRICT or TENNESSEE
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HARMON FRANKLIN, cig R_[ ne i>;§~i~qd?
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Plaintiff,
v. No. 02-1042 B

UNITED TRANSPORTATION, INC. and
TIMOTHY H. HOLT,

Defendants.

 

ORDER OF DISMISSAL WITH PREJUDlCE

 

On April 8, 2005, this Court entered an order directing the Plaintiff, Harmon Franklin, to
show cause Why this matter should not be dismissed pursuant to Ru]e 41 of the Federal Rules of
Civil Procedure for failure to prosecute In its April 8 order, the Court noted as follows:

On January ]4, 2004, the Court entered a default against the Defendants, United

Transportation, Inc. and Timothy H. Holt based upon these Defendants' failure to

notify the Court of new counsel and for failure to appear at a status hearing scheduled

by the Court on January 9, 2004. However, since that time, the Plaintiff, I-Iarmon

Frank]in, who is proceeding pro _s§, has taken no further action to conclude this

matter, such as seeking an entry of a default judgment against the Defendants.

(Order to Show Cause at l.) The Court instructed Franklin to respond to the show cause order Within
l 1 days of the entry thereof, admonishing him that "[a]bsent a response from the Plaintiff, the Court
Will dismiss his complaint Without further notice." (Order to Show Cause at l.) According to the
Court's docket, no filings have been made by the Plaintiff since entry of the show cause order.
Rule 4l(b) provides for dismissal of actions “[f]or failure of the plaintiff to prosecute or to

comply With [the Federal Rules of Civil Procedure] or any order of court . . .“ Fed. R. Civ. P. 4l (b).

A Rule 4 l(b) dismissal “operates as an adjudication upon the merits.” lgl_a The authority to dismiss

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Wn:n sale 53 and/or 79(a) FHCP an_5 §§ d C;§ 7 q "

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a case under Rule 41(b) "is available to the district court as a tool to effect management of its docket
and avoidance of unnecessary burdens on the tax-supported courts and opposing parties.” Knoll v.
American Tel. & Tel. Co., 176 F.3d 359, 363 (6th Cir. 1999), reh’g a_nd_ suggestion g reh’g g banc
denied (June 30, 1999) (citations and internal quotations omitted). The Suprerne Court has
recognized that

[n]either the permissive language of the Rule -- which merely authorizes a motion by

the defendant -- nor its policy requires us to conclude that it was the purpose of the

Rule to abrogate the power of courts, acting on their own initiative, to clear their

calendars of cases that have remained dormant because of the inaction or dilatoriness

of the parties seeking relief. The authority of the court to dismiss sua sponte for lack

of prosecution has generally been considered an “inherent power,” governed not by

rule or statute but by the control necessarily vested in courts to manage their own

affairs so as to achieve the orderly and expeditious disposition of cases.

Link v. Wabash R.R. Co., 370 U.S. 626, 630-31, 82 S.Ct. 1386, 1388-89, 8 L.Ed.2d 734 (1962).
District courts are permitted Substantial discretion in determining whether dismissal is appropriate
Knoll, 176 F.3d at 363; Harmon v. CSX Transp.~ Inc., 110 F.3d 364, 366 (6th Cir. 1997), Lrt.
denied, 522 U.S. 868, 118 S.Ct. 178, 139 L.Ed.2d 119 (1997).

The Sixth Circuit has articulated four factors to be addressed by the Court in assessing
Whether dismissal for failure to prosecute is warranted: (1) whether the party’s failure was the result
of willfulness, bad faith, or fault; (2) Whether the opposing party suffered prejudice due to the party’s
conduct; (3) whether the dismissed party was warned that failure to cooperate could lead to
dismissal; and (4) Whether less drastic sanctions Were imposed or considered before dismissal Was
ordered. Mulbah v. Detroit Bd. of Educ., 261 F.3d 586, 589 (6th Cir. 2001). Prior notice to the party

that his failure to cooperate may result in dismissal is important to support the sanction. Vinci v.

Consolidated Rail Co[p., 927 F.Zd 287, 288 (6th Cir. 1991) (per curiam).

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In this case, as outlined above, the Plaintiff has failed to respond to the Court's show cause
order and has generally failed to make any effort to move this case forward. Clearly, the necessity
of monitoring a case that the Plaintiff has dilatorin permitted to languish indefinitely works some
hardship on the Defendants. In addition, the Plaintiff has been advised in no uncertain terms that
failure to respond to the Court's directives will result in dismissal of his claims. Finally, under the
circumstances, the Court finds that no sanction short of dismissal will cure the Plaintiff‘s failure to
prosecute this matter.

Based on the foregoing, the Plaintiff‘s lawsuit is hereby DISMISSED with prejudice

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rr rs so oRDERED this §§ day of Aprn, 2005.

 

.r) NIEL BREEN \
uNl ED sTATEs DrsTRrCT JUDGE

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case l:02-CV-01042 was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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Brownsville, TN 38012

Honorable .l. Breen
US DISTRICT COURT

